Case: 19-50961 Document:3 Page:1 Date Filed: 10/16/2019

IN THE UNITED STATES

Director, Texas Department

of Criminal Justice

OURT OF
COURT OF APPEALS 0 RECEWveD "3

FIFTH CIRCUIT OCT 15 2019
YOLANDA SALDIVAR §

§ SETH cincutl
Petitioner :

Ve ; Cause No.:

MR. MONROE §
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MOTION FOR LEAVE OF COURT TO FILE

AN APPLICATION FOR A CERTIFICATE OF APPEALABILITY

PURSUANT TO 28 U.S.C. §2253(c) (2)

Now comes, Yolanda Saldivar, a prisoner under the custody
of the Texas Department of Criminal Justice, #733126, and files
this instant motion to file an application for a certificate
of appealability pursuant to 28 U.S.C. §2253(c)(2) requesting
authorization to file in the District Court a second or
successive 28 U.S.C. §2254 application for a Writ of Habeas
Corpus challenging her 1995 conviction and life sentence for
First Degree Murder. The claims that the Petitioner raises could
not have been raised in a previous §2254 application because
of the recent revelations of newly discovered exculpatory
material evidence made by the prosecutor. The Petitioner's

defense relied on the State to produce all and any EXCULPATORY

MATERIAL EVIDENCE against the Petitioner after the defense filed

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"pretrial Motions for Discovery and Inspection and Motion to

produce EXCULPATORY AND MITIGATING EVIDENCE". Unbeknownst to

the Petitioner and the defense, she became aware on "MARCH 16,
2018" that the prosecutor and District Attorney, Mr. Carlos

Valdez, who prosecuted the Petitioner, presented and revealed

withheld EXCULPATORY PHYSICAL MATERIAL EVIDENCE to the media

and the public but deliberately kept that very evidence from

the jury and the defense during the trial. According to the
State's exhibit index, this exculpatory material evidence was

NOT part of the evidence introduced for the jury and was NEVER
placed before the jury. Mr. Valdez, violates a second time the
BRADY rule to disclose . This prosecutorial misconduct was part
of a larger pattern of discrimination aimed at hiding evidence.
This is not justice in America when a prosecutor pretextually
violates the Petitioner's constitutional rights. This pervasive
Systematic misconduct of the prosecutor should not and must not

be accepted in our society. The Courts should look on the
complexity of this whole situation and the over all totality

of the circumstances surrounding the misconduct of theiprosecutor.
The Petitioner believes that based on the conflicting evidence

and the withholding of exculpatory evidence, the jury could have
reasonably rejected or accepted the defense claim of an accidental
shooting but that was not possible when the prosecutor not only
withholds impeachment evidence but recently revealed exculpatory
material evidence. It is the State that holds the burden of proof
for conviction. To withhold favorable exculpatory physical

material evidence from the jury who was the trier of fact was
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and is egregious, contemptible, illegal and unconstitutional.
For 23 years, the prosecutor withheld this evidence and when
convenient presents it to an entity that would not determine
between the guilt and innocence of the Petitioner, between
freedom and life in prison and between what is morally, legally,
and ethically acceptable in a court of law.

PROCEDURAL HISTORY i

The Petitioner was charged, indicted and convicted of First
Degree Murder and sentenced to life in prison. Motion for a
New Trial was filed and denied. After Notice of Appeal, the
Petitioner filed a Direct Appeal to the 14th Court of Appeals,
No. 14-96-10-CR. On October, 1998, the conviction and sentenced
was affirmed. On March, 1999, a Petition for Discretionary Review
was filed and denied on September, 1999. On September 26, 2000,
the Petitioner's attorney filed an Original State Writ of Habeas

Corpus in the WRONG CONVICTING COURT. Due to a change of venue

from the 214th to the 228th District Court, the Writ should have
been filed in Houston and not in Corpus Christi. On December,
2000, the Writ was dismissed by the convicting court. The Statute
of limitations to file a Federal Writ had expired pursuant to

28 U.S.C. §2244(d)(1)(A).

LEGAL BASIS

Pursuant to the Anti-Effective Death Penalty Act, Petitioner
requests the Court of Appeals for a certificate of appealability
to file a §2254 Federal Writ of Habeas Corpus alleging that the
District Court dismissed Petitioner's Motion for a certificate

of appealability for lack of jurisdiction and a State's Court
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determination dismissing Petitioner's 2019

Corpus of a factual issue of denial of her

State Writ of ‘Habeas

constitutional rights:

(1)

(2)

(3)

(4)

(5)

Whether the State Court erred in dismissing the
Petitioner's raised claim of the prosecutor purposefully
withholding EXCULPATORY PHYSICAL MATERIAL EVIDENCE

for 23 years where he claims is proof the Petitioner
"INTENDED" to harm the victim, evidence not presented
to the jury at the time of the trial;

Whether the State Court erred in failing to conduct

a SUA SPONTE evidentiary hearing regarding evidence
that was "KNOWN" but not ADMITTED as evidence to the
jury who was the trier of fact;

Whether the State Court erred in not ruling whether

the withheld physical material evidence was material
and favorable to the Petitioner;

Whether the State Court erred finding that the
Petitioner's Due Process Clause of the 5th Amendment,
Effective Assistance of Counsel of the 6th Amendment,
and Equal Protections of the Law of the 14th Amendment
rights were not violated by the prosecutor when he
deliberately withheld exculpatory physical material
evidence; and

Whether the State Court erred in dismissing Petitioner's
constitutional claims by not adjudicating onthe merits
but by a plain procedural bar to dispose of the case.

28 U.S.C. §2244(b)(2) states:

"A claim presented in a second or successive habeas
corpus application under §2254 that was NOT presented
in a prior application shall be dismissed unless:
(A) The Applicant shows that the claim relies
on a new rule of constitutional law, made
retroactive to cases on collateral review
by the Supreme Court that was previously
unavailable: or
(B)(i) The factual predicate for the claim could
not have been discovered previously
through the exercise of due diligence
and the facts underlying the claim, if
proven by clear and convincing evidence,
would be sufficient to establish that,
but for constitutional error, a reasonable
trier of fact would not find Applicant
guilty of the underlying offense".

Permission may be granted to a habeas Petitioner that his

or her case is appealable from a lower court because the Petitioner

has made a substantial showing that a "constitutional right"
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has been denied pursuant to 28 U.S.C. §2253(c)(2). Miller-El

v. Johnson, 261 F.3d 445, 449 (2001). When he demonstrates that

his petition involves issues which are debatable among jurists

of reason, that another court could resolve the issues differently,
or that the issues are adequate to deserve encouragement to
proceed further. Id. at 449. The prisoner does not have to

show that the case would succeed on the merits, only that
reasonable jurists would find the claim at least debatable.

Miller-El v. Cockrell, 537 U.S. 322, 377, 123 S.Ct. 1029, 1039

(2003).

PRIMA FACIE SHOWING

The Petitioner makes a prima facie showing of actual innocence
of the underlying offense when the establishment of a legally
required rebuttable presumption based on what can be shown to
be true on first examination subject to further evidence or
information, of withheld exculpatory physical material evidence
favorable to the Petitioner enough to allow the fact-trier to
infer the fact of issue and rule in the Petitioner's favor.

Legal Sufficiency

The Petitioner contends that the evidence is not legally
to support her conviction for murder. Specifically, she argues
that the evidence does not prove that the Petitioner "INTENDED"
to shoot the victin.

Standard of Review

Under the Standard of Review for legal sufficiency challenges,

the evidence is insufficient to support a conviction if,

considering all the record evidence in the light most favorable

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to the verdict, no rational fact-finder could have found that

[EACH ESSENTIAL ELEMENT] of the charged offense was proven beyond

a reasonable doubt. Jackson v. Virginia, 443 U.S. 307, 319,

99 S.Ct. 2781, 2789, 61 L.Ed. 2d 560 (1979): Laster v. State,

275 S.W. 3d 512, 517 (Tex.Crim.App. 2009).
Murder is a "RESULT-OF-CONDUCT" crime, which the Penal
Code defines in terms of the result of the perpetrator's actions.

Young v- State, 341 S.W. 3d 417, 423 (Tex.Crim.App. 2011).

A person commits murder by:

(1) Intentionally or knowingly causing the death of an

individual; or

(2) With intent to cause serious bodily injury, committing

an act clearly dangerous to human life that causes
the death of an individual.
(Texas Penal Code Ann §19.02)

A person acts [intentionally] with respect to his conduct
when it is his [objective] to cause the prohibited result, and
a person acts knowingly with respect to his conduct when he is
[aware] that his conduct is reasonably likely to cause the
prohibited result. Id. at §6.03(a)(b).

The Petitioner does not contend that the record lacks

sufficient evidence to show that the firearm introduced at trial

was found to have been FIRED ONCE. Rather, the Petitioner contends

that there is no evidence to support that she "INTENDED" to shoot
the victim. The Petitioner did not possess the objectivity to
cause the direct, indirect or otherwise knowingly the death of
the victim contrary to the State's subjectivity of unfounded

and uncorroborated evidence for its burden of proof of the

required ELEMENT of "INTENT".
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Substantial Showing

The Petitioner makes the substantial showing by providing
the nexus between what was introduced as evidence to the jury
and what was [WITHHELD] from them that could have helped not
only the defense but the jury as well to determined what was
true and what was false.

The Petitioner was convicted of First Degree Murder. The
Petitioner's defense claimed and contended a defense of accident.
The 14th Court of Appeals stated in their "OPINION" the following

in Saldivar v. State, 980 S.W. 2d 475:

",.-Appellant shot Complainant, Selena Quintanilla Perez,
in the back [AS COMPLAINANT WALKED TOWARD THE DOOR OF
APPELLANT'S ROOM] at the Corpus Christi Inn. Complainant
"RAN" FROM the room toward the lobby of the motel,
screaming. Appellant "FOLLOWED" her in armed pursuit..."
(Emphasis Petitioner)

With the 14th Court of Appeals "OPINION" that the victim

"was shot..-.as Complainant WALKED TOWARD THE DOOR of Appellant's

room..." adds SUPPORT AND CREDANCE to the Petitioner's défense

of accident. And this is why. It is clear that the victim was
INSIDE of Petitioner's room indicating the shooting happen INSIDE
not OUTSIDE. The medical examiner concluded in his autopsy )
report that the victim was shot at close range, not long range

as if someone was far away from them wanting to shoot that person.
The motel room was approximately 12X12 in diameter according

to the prosecution's measurements. This is more indication that

the shooting happen INSIDE THE ROOM which would support the

medical examiner's conclusion of close range. The evidence and

the record will show that the State presented NO witnesses who
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testified that they had witnessed the Petitioner INTENTIONALLY

SHOOTING THE VICTIM INSIDE the room. The State charted the
path they claimed the victim "RAN" from the door of Petitioner's

door room AFTER THE SHOOTING, around the poolside, around the

building to the entrance of the front lobby where the victim
collapsed. The State estimated the distance that the victim
"RAN" was 390 feet (130 yards). The State claimed the Petitioner
"FOLLOWED" the victim. The State DID NOT estimate the distance
the Petitioner supposedly "FOLLOWED" the victim. The medical
examiner also concluded in his autopsy report that the victim
had suffered a right perforated subclavian artery injury which
was hemorrhaging. This is an extremely important [objective]
exhibited by the victim for it is the prosecutor's claim that
the victim's "EXERTION" episode is what killed her during his
media interview. This hemorrhaging that the victim had, surely

was spilling into her clothing including those "TENNIS SHOES"

that the prosecutor WITHHELD from the jury.
The 14th Court of Appeals also ruled further in the
Petitioner's point of view contending the prosecutor, Mr. .Carlos

Valdez, in Saldivar v. State, 980 S.W. 2d 475, "WITHHELD EVIDENCE"

from the Petitioner when it ruled:

"The record reflects the prosecutor did not deliberately
withheld impeachment evidence from Appellant. Yet, the
record also reflects the State made little effort to
discover the information which IT POSSESSED IN IT'S OWN
RECORDS. Therefore, we find the State breached its
affirmative duty to disclose impeachment evidence to
which Appellant was entitled". Id. at 486 (Emphasis
Petitioner)

If the prosecutor did not deliberately withheld impeachment
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evidence, what would a Court decide to call withholding
exculpatory material evidence for 23 years if not "deliberate"?
The State may not have had any use of this impeachment evidence
for why they held it. Nevertheless, the 14th Court of Appeals
did not excused their indiscretion of violating the BRAADY rule.

Fast forward now to "MARCH 16, 2018", this same prosecutor

unveals and presents to the media and the public NEWLY DISCOVERED

EXCULPATORY MATERIAL EVIDENCE (NEW in the sense that it was not

introduced as evidence to the jury who was the trier-of-fact),

a pair of "WHITE REEBOK ‘HIGH TOP ‘TENNIS SHOES AND A BLACK BASEBALL

CAP", that he deliberately withheld from the jury and the defense.
The 14th Court of Appeals stated that the withheld impeachment
evidence was "immaterial" and "harmless error". However, this

NEWLY DISCOVERED EVIDENCE is material and was harmful to the

defense because the defense was not able to represent accurately
the misguided view the State was presenting the evidence of what
actually took place. It is the State's burden to’ prove to the
jury that the Petitioner is guilty of the charge of murder in
the indictment with all the evidence tending to prove that guilt.
But not by deliberately infringing upon Petitioner's 5th, 6th,
and 24th constitutional amendment rights by withholding both
impeachment and exculpatory evidence. This is a gross practice
of prosecuting a criminal case. It was the jury who and DID
determined the acquittal or conviction of the Petitioner with
what they had as evidence. There was a deliberate consciousness
to disregard the Petitioner's rights.

The Petitioner stresses the IMPORTANCE this NEWLY DISCOVERED

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EXCULPATORY MATERIAL EVIDENCE of the "TENNIS SHOES" were for

the Petitioner's defense whether or not the entire evidence
prove the Petitioner's culpability. The State claimed that the
victim "RAN". The victim obviously had shoes on, as did the
Petitioner. In the prosecutor's media’ inteview on March 16,

2018 he stressed and claimed that these "TENNIS SHOES" belonged

to the PETITIONER who had stepped on the victim's blood as

Petitioner had "FOLLOWED" the victim. For argument's sake and
going with the prosecutor's media revelations, if this is and

was true, that the "TENNIS SHOES" belonged to the Petitioner,

its inconceivable that a prosecutor WOULD NOT have tendered these

"TENNIS SHOES" to the jury to prove the element of "INTENT" that

would have solidified a sure conviction against the Petitioner.
Any prosecutor would have presented damaging evidence to a jury
to convict her, would it not? This prosecutor instead did the
opposite, he withheld this crucial material evidence. The question
is why? The answer is obvious. The defense could have discredited

the evidence and contended that (1) the "TENNIS SHOES" did not

belonged to:the Petitioner, (2) that absent of any evidence tending
to prove "INTENT" would have had to be entertained by the jury,
(3) the Petitioner had not "FOLLOWED" the victim, and (4) it
would have helped the defense to possibly obtained an acquittal
for the Petitioner.
It is evident that the shooting took place INSIDE the room
of the motel. The State presented no eyewitnesses who testified

they witnessed the Petitioner INTENTIONALLY shooting the victim

INSIDE or OUTSIDE’::the motel. One State main witness, Norma Marie

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Martinez, recanted her police statement during her testimony

at trial where she admitted she had lied to the police when

she stated that she had seen the Petitioner shoot the victim.

Another state witness, Rosario Garza, gave a police statement

Stating that she had heard two big bangs. The weapon introduced

at trial was found to have’been fired ONLY ONCE. For some reason

or another, this witness was not called to testify at trial.
Another aspect of this whole complexity, is the introduction

of the other clothing belonging to the victim (i.e. bra, panties,

green sweat pants) to the jury. BUT why the exclusion of the

victim's "TENNIS SHOES AND BASEBALL CAP"? There was an

affirmative action to suppress this material evidence. These

"TENNIS SHOES" were relevant evidence and were probative as it

was part of the victim's clothing. They were inextricably
intertwined with the rest of the evidence. Because the State
claimed that the victm "RAN" and that the Petitioner "FOLLOWED"
her, the jury WAS NOT allowed to make a final determination of

what role these "TENNIS SHOES" had or played in the commission

of the death of the victim. Instead, the State's prosecutor
withheld this'exculpatory evidence for the deliberate purpose

to conceal evidence from the jury and after 23 years, unshamely
presents them to the media and the public in a deceitful manner
after the fact that the State got its conviction irregardless

if the law was followed and/or if they violated the Petitioner's
constitutional rights. The prosecutor's actions are inexcusable.
The prosecutor had two choices to make, present those tennis

shoes or not. He chose not to which violated Petitioner's rights.

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When the Petitioner was arrested and booked into the Nueces
County Jail, she was stripped searched and her clothing (i.e.

green hospital scrubs and HIGH ANKLE BEIGE BOOTS) were

confiscated. These were not part of the evidence introduced
at trial. Again, why were these BOOTS not made part of the

evidence introduced at trial to the: jury? On the other hand,
what was introduced at trial was Petitioner's other clothing
found in the motel room (i.e. brown pants, panties, blouse).

It is hard to understand that the "TENNIS SHOES" of the victim

and/or the BOOTS of the Petitioner WERE NOT made part of the
evidence to the jury. Because the State claimed and the 14th
Court of Appeals "OPINIONED" that the victim "RAN" and that the
Petitioner "FOLLOWED" the victim in armed pursuit, its
unfathomable to think that either footwear WOULD NOT have been
Placed before the jury to determine whether or not there appears
blood at the bottom of the soles of either footwear. According
to photos of the sidewalk and of the trial of blood the victim
left behind which the state measured and introduced at trial,

if either one (the victim or the Petitioner) would have stepped
on that blood, these footwear could have proven if indeed the
victim "RAN" and the Petitioner "FOLLOWED" her. The State does
not adequately predicate the withholding of this exculpatory
Material evidence of the footwear. Rather, in the State's answer
to the Petitioner's State Writ of Habeas Corpus in May, 2019,

it stated, "In reality, the State did not use those shoes to
prove intent or any other theory...the shoes are immaterial".

(SEE EXHIBIT A-copy of the State's answer page 4).

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The State Court of Criminal Appeals by dismissing the Petitioner's
Writ of Habeas Corpus did not adjudicate on the merits of the
claims Petitioner set forth but rather rushed to dispose the

case. The Court of Criminal Appeals dismissed the fact that

it was the State's prosecutor in his answer to Petitioner's Writ

who determined the materiality of the "TENNIS SHOES" not the

State court. This is an error by the State court. This violated
Petitioner's substantive right to exculpatory evidence. "[B]Jad
faith entails some sort of improper motive, such as personal
animus against the defendant or a desire to prevent the defendant

from obtaining evidence that might be useful". EXPARTE NAPPER,

322 S.W. 3d 202, 238 (Tx.Crim.App. 2010). Certainly, there is
animus against the Petitioner when the prosecutor deliberately
withholds useful exculpatory evidence and when challenged in

an court filing, the court moves quickly to dismiss the case
without any proceedings or written order. The lady justice is
blind for a reason so that equal justice applies to the merits
of a complaint. In the Petitioner's case, justice is NOT equal,
fair, impartial or proper. Rather, its a rush to judgment without
any adjudication whatsoever. A gross miscarriage of justice.
This prosecutor practiced prosecutorial misconduct for a second
time in withholding useful exculpatory evidence demonstrating
animus’: against the Petitioner and with the full weight of the
public and media against the Petitioner, took advantage in bad
faith to conduct an illegal prosecution. For the prosecution

to state that the "TENNIS SHOES" WERE NOT USED to prove intent,

therefore, considered them immaterial, they also DID NOT USE

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the impeachment evidence’ to meet their burden of proof. Yet,
the 14th Court:of Appeals ruled that the prosecutor breached
its affirmative duty to disclose. It was the 14th Court of

Appeals that determined the MATERIALITY of the impeachment

evidence, not the prosecutor. The prosecutor cannot stand as
a judge and prosecutor in a case at the same time.

Material evidence is that quality of evidence which tends
to influence the trier-of-fact because of its logical connection
with the: issue, evidence which is material to question in
controversy, and which much necessarily enter into the consideration
of the controversy, and which by itself or in connection with

other evidence is determinative of the case. Camurati v. Sutton,

54, 342 S.W. 2d 732, 739. The Petitioner argues that the

prosecutor DID NOT ALLOW the jury to perform its duty to determine

or connect the relevancy of the "TENNIS SHOES" to the case.

ARGUMENTS AND AUTHORITIES

The Due Process Clause of the 14th Amendment requires
disclosure even without a request for BRADY evidence, i.e. material

evidence favorable to the accused. Kyles v. Whitley, 514 U.S.

419, 433 (1995); Brady v. Maryland, 373 U.S. 83 (1963). Exculpatory

evidence for purposes of BRADY is evidence that may justify,
excuse, or clear the defendant fault, while impeaching evidence
is that which dispates or ocntradicts other evidence. Harm v.

State, 183 S.W. 3d 403: Thomas v. State, 841 S.W. 2d 399. When

the Petitioner claims that the prosecution suppressed exculpatory
evidence and thereby violated her right to Due Process, [the]

Petitioner must satisfy a three-pronged test. Petitioner must

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first show that the State failed to disclose evidence, regardless
of the prosecution's good or bad faith. He must then show that
the withheld evidence is favorable to the Petitioner. Finally,
the Petitioner must show that the evidence is material, that

is, there is a reasonable probability that had the evidence been
discovered, the outcome of the trial would have been different.

Exparte Richardson, 70 S.W. 3d at 870. There is indisputable

evidence that the State suppressed and withheld exculpatory

Material evidence of the "TENNIS SHOES" from the defense and

the jury by its admission to the Petitioner's State Writ of Habeas

Corpus stating that the "TENNIS SHOES" were "KNOWN" and not used

by the State to meet its burden of proof. These "TENNIS SHOES"

are favorable to the defense for they are the nexus to bring

about whether or not the element of "INTENT" was proven beyond
a reasonable doubt. The defense could have used every and any
one piece of evidence for a breakthrough. Not one single piece

tells the whole story but put together with other pieces, the

story can turnover the right story. Evidence is favorable if,
when disclosed and used effectively, it may make the difference

between conviction and acquittal. Bagley, 473 U.S. at 676;

Exparte Mitchell, 853 S.W. 2d 1, 4 (Tx.Cr.App. 1993). The defense

was not allowed to use this suppressed evidence effectively or
any other way. Finally, there is a reasonable probability that
had the evidence been discovered or introduced to the jury, the
defense could have effectively argued and be successful that

the element of "INTENT" was missing the action by the Petitioner.

Furthermore, what the evidence of the shoes could have provided

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if the Petitioner "FOLLOWED" the victim.
The prosecutor had this exculpatory material evidence in

its possession prior and during the trial which he DENIED AND

KEPT FROM THE JURY. He had the "AFFIRMATIVE DUTY" to disclose

this exculpatory material evidence. When the Court of Appeals

ruled in Saldivar v. State, 980 S.W. 2d 475 that the prosecutor

"DID NOT DELIBERATELY" withheld impeachment evidence but "MADE

LITTLE EFFORT TO DISCOVER THE INFORMATION" which it "POSSESSED

IN ITS OWN RECORDS" and "BREACHED ITS DUTY TO DISCLOSE IMPEACHMENT

EVIDENCE TO WHICH APPELLANT WAS ENTITLED", it can be reasonably

said that the prosecutor had and has DELIBERATELY and willfully

withheld EXCULPATORY MATERIAL EVIDENCE which HE POSSESSED and

made no efforts to reveal that evidence to which the Petitioner
was entitled, to the jury who was the trier-of-fact during the
trial.

The Petitioner satisfied the three-pronged test in EXPARTE -

RICHARDSON, 70 S.W. 3d at 870:

(1) The prosecutor reveals to the public in his media
interview "IN 2018" NEWLY DISCOVERED EXCULPATORY
EVIDENCE OF BLOOD STAINED TENNIS SHOES hé é€1laims
belonged to the Petitioner which he failed to
introduced to the jury at trial in 1995;

(2) This exculpatory material evidence is favorable to
the Petitioner because as the prosecutor and the Court
of Appeals "OPINIONED" that the victim "RAN" and that
the Petitioner "FOLLOWED". The jury was left with
the impression that both the victim and the Petitioner
were barefooted or that ALL THE EVIDENCE was before
them. The claim that the Petitioner "FOLLOWED" in
armed pursuit shows "INTENT" by the Petitioner to do
harm to the victim according to the prosecution. The
prosecutor further claims the Petitioner "STEPPED"
on the victim's blood with those tennis shoes. And
if so, why were the shoes not MATERIAL enough to be
introduced as evidence to the jury who would decide
if the Petitioner intended to do harm to the victim.

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And if not, then whose blood are on those tennis shoes?
(3) The [REQUIRED ELEMENT] of the Penal Code §19.02 of
"INTENT" to do harm to the victim by the Petitioner
must be proven. The State did not present any witnesses
who witnessed the Petitioner "INTENTIONALLY" shooting
the victim INSIDE the room. Given the nature of the
prosecutor of withholding evidence, there is a reasonable
probability that an [EFFECTIVE DEFENSE] would have
been successful had this new exculpatory material
evidence been introduced at trial and that a jury
confronted with such mitigating evidence would have
returned with a different verdict, at least [ONE JUROR]
would have struck a different balance.

A prosecutor violates the Due Process Clause of the 14th
Amendment when he or she fails to disclose exculpatory material

evidence that is favorable to the accused. THOMAS V. STATE,

841 S.W. 2d 399, 404 (Tx.Cr.App. 1992). The Supreme Court in

WEARRY V. BURL CAIN, 577 U.S. (2016) stated that the prosecutors

failed to disclose evidence that could have helped the defense
and violated his due process rights... ‘Thé Petitioner argues
that in her case the same has happen with the prosecutor
withholding evidence such as (1) impeachment evidence from a
state witness of her criminal records and (2) material evidence
of the victim's shoes and just as WEARRY'S due process rights
were violated, the Petitioner's due process rights were also

violated. A prosecutor has an "AFFIRMATIVE DUTY" to disclose

"ALL MATERIAL", exculpatory evidence to the defense. LAGRONE

V. STATE, 942 S.W. 2d 602, 615 (Tx.Cr.App.) cert. denied 139

L.Ed.2d 235, 188 S.Ct. 305 (1997). Evidence qualifies as
Material when there is "any reasonable likelihood" it could have

"affected the judgment of the jury". NAPUE V. ILLINOIS, 360

U.S. 264, 271 (1959). The Supreme Court in WEARRY stated that

WEARRY can prevail even if...the undisclosed information may

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not have affected the jury's verdict. The Petitioner claims
that the undisclosed evidence may not have affected the jury's
verdict but could have prevailed. The Petitioner had the
constitutional right to [ALL] and [ANY] exculpatory material
evidence and the prosecutor denied her this right by withholding
not only impeachment evidence but also this newly discovered
evidence of the victim's shoes and cap, that were in the
prosecutor's possession and then using deceptive representation
ofthe shoes to the media and the public inciting sedition against
the Petitioner.

Rule 401 of the Federal Rule of evidence states that relevant
evidence is evidence having any tendency to make the [existence
of any fact] that is of consequence to the [determination] of
the action more probable or less probable then it would be without
the evidence. Certainly, the tennis shoes that the prosecutor
willfully withheld are of consequence and is relevant to the
alleged accusation against the Petitioner that she "FOLLOWED"
the victim intending to do her intentional harm. This alone
could have affected the minds of the jury. Had the shoes proven
the contrary-of "INTENT", there is a reasonable probability that
the results could have been different. The Petitioner alleges
violations of her Due Process Rights under BRADY and of her
Sixth Amendment Right to effective assistance of counsel.

The Petitioner contends that her defense counsel failed
to provide effective assistance of counsel when it failed to
introduced to the jury the state's preservation of evidence,

failed to object to the state's exclusion of exculpatory physical

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material evidence and erroneously demonstrated a deficient
performance that prejudiced the Petitioner's defense. The
prosecution in their answer to Petitioner's Writ stated that
the shoes were "KNOWN" as if it was the defense's burden to go
looking for the evidence that would or would not convict his
client. The Petitioner argues that had the prosecutor not done

his "MARCH 16, 2018" media interview, the revelation of the New

material exculpatory evidence of the "TENNIS SHOES" would have

remained mysteriously hidden. For the State to undermine
Petitioner's argument in her 2019 State Writ of Habeas Corpus

a "an imaginary trial where the State, operating under a mistaken
belief that they were her shoes, relies upon that evidence to
meet its burden to prove her intent to kill", the State egregiously
dismisses that facts are stubborn, but to the State that didn't
matter. In our country, trials are not conducted by imagination,
but by stubborn facts. The Petitioner presents to this Court
facts that question the validity of her conviction of what was
and was not presented at trial by the prosecution and grave
misdeeds that played into the conviction of the Petitioner in
addition to withholding exculpatory and impeachment evidence:

(1) The Court of Appeals "OPINIONED" that the "...
Petitioner shot Complainant, Selena Quintanilla Perez,
in the back as Complainant walked toward the door or
Petitioner's room". This indicates that the shooting
occurred inside, not outside. This is why the
importance of the shoes matter;

(2) The prosecutor, Mr. Valdez, presented evidence of the
trail of blood he states the victim left behind as
she ran 130 yards (390 feet) from the room to the
front lobby of the motel;

(3) The prosecutor, Mr. Valdez, in his published book

"JUSTICE FOR SELENA" states that a HOLLOW POINT BULLET
[BULLETS THAT WERE PRESENTED AS EVIDENCE IN THIS

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(4)

(5)

(6)

(7)

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(9)
(10)

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(13)

(14)

INSTANT CASE] are used to "STOP AN AGGRESSOR". If
this is the case, it didn't stop the victim as she
"RAN" according to him. This is why it is and was
important for the upper clothing of the victim to be
submitted to the medical examiner's for his evaluation.
It was not;

The "WITHHOLDING" of the victim's shoes (i.e. White
Reebok Tennis Shoes) are of a great. consequence
because if it is as Mr. Valdez claimed in his March
16, 2018 interview that the Petitioner "STEPPED" on
victim's blood as she followed the victim, then
"INTENT" would have been proven or disproven. For

23 years, the jury nor the defense knew that such
shoes existed;

In his media interview, (paraphrasing Mr. Valdez),

he claimed that the "EXERTION" that the victim sufferred
post right perforated subclavain artery injury was
what killed the victim. Had the "tennis shoes"been
presented as evidence, they could have proven the
extend of the victim's blood loss as an artery injury
would have produced an enormous amounts of blood
profusing out of the victim into her shoes. The jury
never got to deliberate this crucial evidence;

The Petitioner's defense was one of an accident. The
Court of Appeals adds credance to this defense when
it stated in its "OPINION" that the victim was "SHOT
---AS COMPLAINANT...2WALKED TOWARD THE DOOR OF THE...
ROOM". The State presented no witnesses who witness
the Petitioner "INTENTIONALLY" shooting the victim
inside the room;

By withholding the "tennis shoes" from:the jury, it
lends to..the suspicion that the "UPPER CLOTHING OF
THE VICTIM" (i.e. green sweat shirt) ccruc¢ial :to-the
determination of the distance, direction, size and
type of bullet that struck the victim was deliberately
destroyed;

Rosario Garza, a State witness, gave a police statement
stating that she heard 2 big bangs. This witness was
NOT called to testify at trial;

The weapon that was introduced at trial, was tested
in the lab to have been fired only ONCE;

No fingergprints were lifted from the weapon;

No one examined the Petitioner's hands for gun powder:
No bullet or casings were found at the crime scene,
inside or outside of the room, even though the victim
had an entrance and exit wound;

In 2000, the prosecutor, Mr. Valdez, requested and
was granted permission to "DESTROY" the weapon
introduced at trial despite Petitioner's urging not
do so as she had pending appeals;

The prosecutor, Mr. Valdez, had the "tennis shoes"
all of these years, yet sought not to destroy them

as he did with the weapon and the victim's upper

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clothing (i.e. green sweat shirt);

(15) The prosecutor, Mr. Valdez, used the motive of
embezzlement, fruit of the poisonous tree, to convict
the Petitioner even after he stated to the Court he
had no intention of pursuing charges against the
Petitioner for lack of evidence.

The Petitioner, finally, argues that since the Court of

Appeals ruled in this instant case that the "IMPEACHMENT EVIDENCE"

that the Petitioner was entitled to, begs the question: Why

would the EXCULPATORY MATERIAL EVIDENCE not be entitled to the

Petitioner? If the shoes were so important to the crime that

Mr. Valdez, the prosecutor, withheld them for 23 years and didn't
destroy them and then present them to the public but not the

jury, then it is just as important that the Petitioner be given

the opportunity to refute such evidence. The Petitioner asserts
that the prosecutor is a self-serving prosecutor who breached

its affirmative duty to disclose to the defense and more importantly
to the jury who ultimately decided the fate of the Petitioner.
Prosecutors with such behaviors should be deterred from wrongdoing
against the Petitioner if nothing is done to restore the rights

of the Petitioner and/or‘:against«another:defendant. For the

reasons stated in this Motion, the Petitioner asserts that pursuant
to 28 U.S.C. §2244(b)(2)(B)(i) she claims that the factual predicate
for the claim could not have been discovered previously through-

the exercise of due diligence and the facts underlying the claim,

if proven by clear and convincing evidence, would be sufficient

to establish that, but for constitutional error, a reasonable

trier of fact would not find Petitioner guilty of the underlying

offense.

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The Petitioner informs this Honorable Court that after many
requests to the State convicting court to obtain her trial record,
the convicting court was uncooperative in this matter as the
Petitioner repeatedly requested their cooperation. The Petitioner
was forced to file a Writ of Mandamus to the State Court of
Criminal Appeals in 2012. After an order from the Court of
Appeals, the convicting court provided the Petitioner with [SOME]
but not all of her record. To obtain the rest of her trial
record, a second Writ of Mandamus had to be filed in 2018 to
obtain an answer from the convicting court as to:the whereabouts
of the rest of her trial record. Again the. Céurt :of Criminal
Appeals filed an order and the convicting court responded. For
this reason, the Petitioner was delayed in filing a State Writ
of Habeas Corpus and the filing of this Motion for a Certificate

of Appealability.

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CONCLUSION AND PRAYER

WHEREFORE, the Petitioner requests that this Court grant
Petitioner a certificate of appealability to file a second or

successive 28 U.S.C. §2254 Federal Writ of Habeas Corpus.

Respectfully Submitted,
YOLANDA SALDIVAR

TDCI #733126

Mountain View Unit

2305 Ransom Rd.
Gatesville, Texas 76528

CERTIFICATE OF SERVICE

I, Yolanda Saldivar, do hereby certify that the foregoing
documents are true and correct and mailed via regular mail through
the Texas Department of Correction Mountain View Unit mailroom
to The United States Court of Appeals for the Fifth Circuit,

ath

600 S. Maestri Place, New Orleans, LA 70130 on

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YOLANDA SALDIVAR, Petitioner

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